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                                                          1 STRIS & MAHER LLP
                                                            PETER K. STRIS (SBN 216226)
                                                          2 peter.stris@strismaher.com
                                                            BRENDAN S. MAHER (SBN 217043)
                                                          3 brendan.maher@strismaher.com
                                                            ELIZABETH BRANNEN (SBN 226234)
                                                          4 elizabeth.brannen@strismaher.com
                                                            DANA BERKOWITZ (SBN 303094)
                                                          5 dana.berkowitz@strismaher.com
                                                            VICTOR O’CONNELL (SBN 288094)
                                                          6 victor.oconnell@strismaher.com
                                                            725 South Figueroa Street, Suite 1830
                                                          7 Los Angeles, CA 90017
                                                            T: (213) 995-6800 | F: (213) 261-0299
                                                          8
                                                            SHAUN P. MARTIN (SBN 158480)
                                                          9 smartin@sandiego.edu
                                                            University of San Diego School of Law
                                                         10 5998 Alcala Park, Warren Hall
                                                            San Diego, CA 92110
 725 S. FIGUEROA ST, STE 1830




                                                         11 T: (619) 260-2347 | F: (619) 260-7933
                                LOS ANGELES, CA 90017




                                                         12 Attorneys for Defendants and
                                                            Counterclaim Plaintiffs
                                                         13
                                                         14                       UNITED STATES DISTRICT COURT
                                                         15                     CENTRAL DISTRICT OF CALIFORNIA
                                                         16                                WESTERN DIVISION
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                                                         17   GRASSHOPPER HOUSE, LLC,                    Case No. 2:18-CV-923 SVW (RAOx)
                                                         18              Plaintiff,
                                                                                                         COUNTERCLAIM PLAINTIFFS’
                                                         19        v.                                    OPPOSITION TO MOTION TO
                                                                                                         DISMISS COUNTERCLAIMS
                                                         20   CLEAN & SOBER MEDIA LLC, et al.
                                                         21              Defendants.
                                                         22 CLIFFSIDE MALIBU, et al.
                                                         23           Counterclaim Plaintiffs,
                                                         24        v.
                                                         25 GRASSHOPPER HOUSE, LLC, et al.
                                                         26         Counterclaim Defendants.
                                                         27
                                                         28

                                                                    COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                          1                                   INTRODUCTION
                                                          2         The counterclaims allege each and every element of false advertising and unfair
                                                          3 competition, in great detail, under theories this Court and the Ninth Circuit Court of
                                                          4 Appeals have endorsed, and therefore the motion to dismiss must be denied.
                                                          5 Cliffside’s 1 false advertising counterclaims are based on two fraudulent schemes run
                                                          6 by Counterclaim Defendants Chris and Pax Prentiss (collectively, “the Prentisses”) to
                                                          7 promote their purported substance abuse treatment facilities, Counterclaim Defendants
                                                          8 Passages Malibu and Passages Silver Strand (collectively, “Passages”).
                                                          9         First, the Prentisses falsely claim, contrary to medical evidence and with no
                                                         10 supporting data, to have found a miracle “cure” for drug addiction that they offer to
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                                                         11 patients at Passages. Second, they use bogus websites to promote their bogus cure.
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                                                         12 Specifically, they operate websites that masquerade as trusted sources, such as a
                                                         13 municipality, a college and an independent news organization, but are really marketing
                                                         14 tools. These sites plant glowing “reviews” and rankings of Passages amid apparent
                                                         15 news content and links to actual government resources, without disclosing the site’s
                                                         16 true ownership. The Prentisses’ dishonest methods are effective in luring prospective
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                                                         17 patients away from competing facilities, including Cliffside, which has suffered severe
                                                         18 harm as a result.
                                                         19         Importantly, the Prentisses’ and Passages’ 12(b)(6) motion does not seek
                                                         20 dismissal of the counterclaims regarding their phony addiction “cure.” That is
                                                         21 unsurprising, as they are issue-precluded from doing so. They litigated and lost that
                                                         22 precise issue before Judge Gee of this District. Grasshopper House, LLC v. Accelerated
                                                         23 Recovery Centers, LLC, No. 09-cv-08128, 2010 WL 11549437 (C.D. Cal., Mar. 23,
                                                         24
                                                         25
                                                         26   1
                                                             Throughout this opposition, “Cliffside” refers to Counterclaim Plaintiffs Cliffside
                                                         27 Cliffside Sunset
                                                            Malibu,          Malibu, Cliffside Malibu II, Cliffside Malibu Outpatient Services,
                                                                      Malibu 3, and Recovery Malibu.
                                                         28
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                                                                    COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                          1 2010). As Judge Gee held against these Counterclaim Defendants, 2 a Lanham Act
                                                          2 claim brought by a rehabilitation facility over Passages’ false promotion of a cure
                                                          3 “allege[s] sufficient facts to make its prima facie case.” Id. at *5-6 (“whether Counter-
                                                          4 defendants cure addicts or whether a cure for addiction even exists . . . is ultimately a
                                                          5 matter for the trier of fact to determine based on the evidence.”).3
                                                          6         The pending motion to dismiss accordingly addresses only the website-based
                                                          7 claims. ECF No. 62 at 2 n.1. But Passages does not attempt to show the counterclaims
                                                          8 are deficiently pled. Instead, Passages (irrelevantly) compares the counterclaims to its
                                                          9 own claims against Cliffside, arguing the element of false statements about a
                                                         10 competitor is lacking. Yet Passages own complaint alleges false advertising on the
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                                                         11 same theory of misleading advertising it now challenges. First Amended Complaint,
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                                                         12 ECF No. 30, ¶ 26(d); see also July 18, 2018 Order, ECF No. 51 at 9. And both the
                                                         13 Ninth Circuit Court of Appeals and district courts in California have found false
                                                         14 advertising on facts nearly identical to the present case—promotional websites that
                                                         15 create the false appearance they are government or other trusted sources of information.
                                                         16 (It is also untrue that Passages does not disparage its competitors—“reviews” on the
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                                                         17 websites it secretly owns rank it the top rehab facility, and say it is “[t]he only rehab
                                                         18 around town where they lift their patients up, not tear them down.” Answer and
                                                         19 Counterclaims, ECF No. 53 (“Counterclaims”), ¶ 42.)
                                                         20
                                                         21   2
                                                                Grasshopper House, LLC, Passages Silver Strand, LLC, Chris Prentiss and Pax
                                                         22   Prentiss were all counterclaim defendants in the Grasshopper House v. Accelerated
                                                              Recovery litigation.
                                                              3
                                                         23     Instead, to defeat the bogus cure counterclaims, Passages relies on the theory
                                                              advanced in their anti-SLAPP motion, namely that such statements are protected
                                                         24   opinions on matters of public interest rather than false assertions of fact in a
                                                              commercial setting. Anti-SLAPP Motion, ECF No. 60. But the argument that claims
                                                         25   about a cure are nonactionable under federal law is (1) issue precluded, (2) not
                                                              incorporated by reference in 12(b)(6) motion, and (3) in any event, is self-evidently
                                                         26   wrong. Fake cures, the proverbial “snake oil,” have been actionable for as long as the
                                                              law of false advertising has existed. Counterclaim Plaintiffs’ Opp. to Special Motion
                                                         27   to Strike, at 14-20. Passages’ failure to make any persuasive argument as to why the
                                                              “cure” counterclaims should be dismissed on 12(b)(6) grounds means the entire motion
                                                         28   to dismiss must be denied.
                                                                                                         2
                                                                    COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                          1         Otherwise, Passages does not argue the counterclaim allegations are lacking in
                                                          2 required specifics (nor could it—they detail Passages’ misrepresentations extensively).
                                                          3 Rather, it asks the Court to determine as a matter of law that its phony government,
                                                          4 college, and news websites are not likely to deceive the public or to affect purchasing
                                                          5 decisions. These arguments are not only legally unsupported and implausible on their
                                                          6 face—why did Passages pretend to be a municipality or a college if it did not expect
                                                          7 the tactic to be effective?—they are completely inappropriate for a motion to dismiss.
                                                          8 Deceptiveness and materiality are fact-intensive inquiries to be determined on the
                                                          9 evidence. Passages’ attack on the injury allegations is likewise meritless. Surveys and
                                                         10 other evidence are not required at the pleading stage; Cliffside has more than met the
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                                                         11 requirement to allege actual or likely harm resulting from Passages’ conduct. The
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                                                         12 motion to dismiss should be denied.
                                                         13                              FACTUAL BACKGROUND
                                                         14         A.    The Parties
                                                         15         Cliffside operates residential substance abuse treatment facilities located in
                                                         16 Malibu, California. Counterclaims ¶¶ 3-9. The Prentisses and Passages also operate
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                                                         17 substance abuse facilities in Malibu and nearby that compete with Cliffside. Id. ¶¶ 10-
                                                         18 13, 20-21, 56. Neither Chris Prentiss nor Pax Prentiss has any medical, behavioral, or
                                                         19 other training relevant to the treatment of drug and alcohol addiction. Id. ¶ 18.
                                                         20 Nonetheless, by marketing impossible claims to have a “forever” cure for substance
                                                         21 abuse to people desperate to find a treatment for addiction (among other tactics), the
                                                         22 Prentisses have lured a wealthy clientele to their facilities. Id. ¶¶ 19, 48(a). Passages
                                                         23 charges patients up to $100,000 per month for addiction “treatment.” Id. ¶ 19. As Chris
                                                         24 Prentiss has put it: “People mortgage their houses, max out their credit cards, sell
                                                         25 assets, whatever it takes to get here.” Id.
                                                         26         B.    The Prentisses’ and Passages’ False Advertising
                                                         27         The Prentisses induce prospective patients to come to Passages using at least two
                                                         28 deceptive methods. First, they tout a miraculous “cure” for addiction that Chris Prentiss
                                                                                                        3
                                                                    COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                          1 claims to have discovered and used to treat his son Pax, who is said to be “living proof”
                                                          2 of its effectiveness. Counterclaims ¶¶ 50, 52(a)-53(c). The Prentisses offer their cure
                                                          3 as an alternative to accepted, evidence-based approaches to addiction treatment, which
                                                          4 they disparage as “antiquated” and ineffective. Id. ¶ 52. Their claims are fraudulent:
                                                          5 there is no medical evidence that substance addiction can be cured, no evidence that
                                                          6 Chris Prentiss possesses a cure, and indeed, Pax Prentiss is not cured—he remains a
                                                          7 drug addict some 18 years after he claims the cure took place. Id. ¶¶ 46-47, 50, 54-55.
                                                          8         Second, the Prentisses own and operate websites that pose as trusted institutions
                                                          9 and offer content disguised as news and analysis that is, in reality, advertising for
                                                         10 Passages. Counterclaims ¶¶ 21-44. None of these sites disclose their affiliation with
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                                                         11 Passages or their nature as promotional vehicles for Passages.4
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                                                         12         For example, the website www.baltimorehealth.org presents itself as a
                                                         13 publication of the City of Baltimore. The City of Baltimore formerly owned the site,
                                                         14 and when the Prentisses acquired it, they maintained its original design in order to
                                                         15 create the false impression that it remained a trustworthy government source of
                                                         16 information. Counterclaims ¶ 25. The site is titled “Baltimore Health” and places the
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                                                         17 logo of the City of Baltimore in the top left corner. Counterclaims ¶ 24. The logo even
                                                         18 contains the words “City of Baltimore”: 5
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                                                              The counterclaims describe five such websites, but Cliffside believes there are others.
                                                         24 ECF   No. 53 at 25 ¶43.
                                                            5
                                                         25   After the counterclaims were filed, Passages altered the webpages that Cliffside
                                                            complains of to omit some of their false material, such as the City of Baltimore’s logo,
                                                         26 and to add disclosures of the websites’ ownership by Passages. See the concurrently
                                                            filed Combined Opposition to Request for Judicial Notice, and Request for Judicial
                                                         27 Notice. This conduct is beyond the scope of the counterclaims, and does not
                                                            retroactively cure Passages’ misconduct. It is not a ground on which the Court may
                                                         28 grant Defendants’ motion to dismiss.
                                                                                                       4
                                                                    COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                         1 The “About” page on the website states that “Baltimore Health is a resource guide for
                                                         2 the residen[ts] of Baltimore. Please visit Baltimore Department of Health for more
                                                         3 information.” Id. The bottom of the page lists “Resources,” including eight links to
                                                         4 government websites such as the Baltimore City Health Department, the Centers for
                                                         5 Disease Control, and Healthcare.gov. Id. The headlines linked on the page further
                                                         6 suggest it is a source of Baltimore health news (e.g., about art therapy for Baltimore
                                                         7 veterans and a biomedical discovery at Johns Hopkins University). Id.
                                                         8         Interlaced with this content, but not identified as advertising or as anything other
                                                         9 than additional health news, are hyperlinks that promote Passages. The “Resources”
                                                        10 section, alongside the links to government sites, provides links to “Malibu Luxury
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                                                        11 Rehab,” “Drug Addiction Treatment Center: Passages Malibu,” “Luxury Rehab,”
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                                                        12 “California Luxury Rehab,” “The Best Rehab,” “The Luxury Rehab,” “World’s Best
                                                        13 Rehab,” and “Best Rehab California.” Id. ¶ 26. All of these links redirect users to
                                                        14 Passages websites, giving the public the false impression that the City of Baltimore
                                                        15 endorses Passages’ rehab facilities and considers them superior to others. Id.
                                                        16         The Prentisses’ other websites use similar trickery to promote Passages’ rehab.
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                                                        17 The website www.westerncollege.com was, until the Prentisses acquired it, associated
                                                        18 with Western Career College, a vocational college specializing in healthcare career
                                                        19 training. Counterclaims ¶ 35. The address westerncollege.com suggests the site is still
                                                        20 affiliated with an academic institution. Id. ¶ 34. It is titled “Drug and Alcohol Addiction
                                                        21 Blog,” and as Passages concedes, it contains articles of the sort one might expect to
                                                        22 find on such a blog, for example, “Conquering Substance Abuse: Opiate Addiction
                                                        23 Treatment” and “Road to Recovery: Alcohol Addiction Treatment.” MTD, ECF No.
                                                        24 62 at 6-7. But westerncollege.com also contains a story and a “review” that are, in
                                                        25 substance, advertisements for Passages Malibu. Counterclaims ¶ 36. And it has a
                                                        26 “Rehab Reviews” page that reviews only Passages Malibu (three times) and lauds it as
                                                        27 the top rehab facility in California. Id. ¶ 36. Westerncollege.com nowhere discloses
                                                        28
                                                                                                         5
                                                                    COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                         1 that it is owned by Passages. It thus deceptively pretends to be a healthcare college’s
                                                         2 publication about addiction treatment while promoting Passages’ business.
                                                         3         www.denverijournal.com masquerades as a Denver-based local publication
                                                         4 devoted to marijuana news, which is what it was before the Prentisses bought it.
                                                         5 Counterclaims ¶ 31. The site contains articles that appear to be genuine news and
                                                         6 commentary, such as “Charities, Support Systems Are Crucial in the Fight Against
                                                         7 Addiction” and “CVS Agrees to Pay the State of Massachusetts Large Sum for Their
                                                         8 Part in the Opioid Epidemic.” Id. at 21. Alongside these headlines, presented in the
                                                         9 same news-like format, is a “story” entitled “Passages Malibu Revolutionizing
                                                        10 Addiction Treatment,” which is really an advertorial—although not identified as one—
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                                                        11 extolling the virtues of Passages. Id. As with the Baltimore Health site, there is a list
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                                                        12 of “Drug Addiction Resources,” which combines links to Passages websites with links
                                                        13 to legitimate resources, such as the National Institutes of Health website. Id. The
                                                        14 impression thus created is that an independent news periodical has used its editorial
                                                        15 judgment to select the links it believes will be most useful to readers seeking addiction
                                                        16 treatment. Id. In reality, the site is a surreptitious shill for the Prentisses’ purported
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                                                        17 treatment centers—and one that further creates a false impression of impartiality by
                                                        18 cautioning readers against relying on sites that are owned by the rehab centers they
                                                        19 cover. Id. ¶¶ 27, 33.
                                                        20         Two other sites owned by the Prentisses, www.ghctotalhealth.org and
                                                        21 www.discoveryretreats.com, likewise appear to be independent blogs about drug and
                                                        22 alcohol addiction treatment. Once again, both sites place links to advertorials for
                                                        23 Passages Malibu alongside news links in the same format, so that they are
                                                        24 indistinguishable from legitimate editorial content. Counterclaims ¶¶ 38, 40-41. The
                                                        25 GHC Total Health site contains an “article” that ranks rehab centers and places
                                                        26 Passages first. Id. ¶ 39. The Discovery Retreats site glowingly reviews Passages while
                                                        27 disparaging other rehab centers, claiming that Passages is “[t]he only rehab around
                                                        28 town where they lift their patients up, not tear them down. This positivity helps them
                                                                                                       6
                                                                   COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                         1 to let go of their addiction to drugs and alcohol in just 30 days stay at the Malibu
                                                         2 mansion.” Counterclaims ¶ 42. Neither site discloses that it is owned by the Prentisses.
                                                         3 Counterclaims ¶¶ 25, 39, 42.
                                                         4                                        ARGUMENT
                                                         5 I.      Applicable Legal Standards
                                                         6         On a motion to dismiss under Fed. R. Civ. P. 12(b)(6), “[a]ll allegations of
                                                         7 material fact are taken as true and construed in the light most favorable to the
                                                         8 nonmoving party.” Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337-38 (9th Cir. 1996).
                                                         9 A complaint should not be dismissed unless a plaintiff can prove no set of facts in
                                                        10 support of his claim which would entitle him to relief. Id. “[T]he motion [to dismiss]
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                                                        11 is not a procedure for resolving a contest between the parties about the facts or the
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                                                        12 substantive merits of the plaintiff’s case.” Williams v. Gerber Prods., 552 F.3d 934,
                                                        13 938 (9th Cir. 2012) (quoting 5 Wright & Miller, Federal Practice and Procedure
                                                        14 § 1356).
                                                        15         Although courts in the Ninth Circuit have applied Rule 9(b)’s heightened
                                                        16 pleading standard to false advertising claims, Rule 9(b) “‘applies only to the specifics
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                                                        17 of the alleged misrepresentations; it does not, by contrast, apply to other aspects of
                                                        18 Plaintiff’s claims, such as reliance or damages.’” Waste and Compliance Mgmt., v.
                                                        19 Stericycle, Inc., No. 17-cv-0967, 2017 WL 4358145 at *2 (S.D. Cal., Oct. 2, 2017)
                                                        20 (quoting Tidenberg v. Bidz.com, Inc., No. 08-cv-5553, 2009 WL 605249, at *7 (C.D.
                                                        21 Cal. Mar. 4, 2009)).
                                                        22         The remaining elements of a false advertising claim are evaluated under the
                                                        23 standard of Rule 8(a), which requires pleading “enough facts to state a claim to relief
                                                        24 that is plausible on its face” and to “raise a right to relief above the speculative level.”
                                                        25 Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 571 (2007). Extensive and detailed
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                                                        28
                                                                                                         7
                                                                    COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                         1 allegations are not required. See, e.g., Homeland Housewares, LLC v. Euro-Pro
                                                         2 Operating LLC, No. 14-cv-03954, 2015 WL 476287 at *2 (C.D. Cal., Feb. 5, 2015). 6
                                                         3         To establish a false advertising violation under section 43(a) of the Lanham Act,
                                                         4 a plaintiff must show “(1) a false statement of fact by the defendant in a commercial
                                                         5 advertisement about its own or another's product; (2) the statement actually deceived
                                                         6 or has the tendency to deceive a substantial segment of its audience; (3) the deception
                                                         7 is material, in that it is likely to influence the purchasing decision; (4) the defendant
                                                         8 caused its false statement to enter interstate commerce; and (5) the plaintiff has been
                                                         9 or is likely to be injured as a result of the false statement, either by direct diversion of
                                                        10 sales from itself to defendant or by a lessening of the goodwill associated with its
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                                                        11 products.” Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir.
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                                                        12 1997).
                                                        13 II.     The Counterclaims Properly Plead Claims for False Advertising Against
                                                        14         Passages’ Deceptive Websites.
                                                        15         A.     Passages’ Misleading Presentation of Advertising as News Content
                                                        16                from Trusted Sources Is Actionable.
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                                                        17         Passages’ argument that it is free to pose, falsely, as a municipality, a college,
                                                        18 and other trusted institutions on the web boils down to a single proposition: It contends
                                                        19 that Cliffside has failed to identify a false or misleading statement of fact. MTD, ECF
                                                        20 No. 62, at 10-11. In Passages’ view, an omission of affiliation alone is not sufficient.
                                                        21 Rather, that omission must “‘render[] some other affirmative statement false or
                                                        22 misleading.’” Id. at 10 (quoting July 18, 2018 Order, ECF No. 51, at 9).
                                                        23         While it is a truism that omissions alone do not constitute false statements, the
                                                        24 Lanham Act does not define the concept of a misleading representation as narrowly as
                                                        25   6
                                                             In Homeland, the prongs not subject to Rule 9(b) (i.e., elements 2 through 5,
                                                        26 everything other than the alleged misrepresentations) were sufficiently stated by
                                                           allegations that the defendant “is able to convince consumers that its inferior product
                                                        27 is equal to or superior to the quality of the” plaintiff’s product “and that Defendant's
                                                           alleged deception has actually changed consumer behavior and thus injured Plaintiffs.”
                                                        28 Id. at *2.
                                                                                                        8
                                                                    COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                         1 Passages would have it. A website designed to fool people into thinking it is the official
                                                         2 page of a government or a college or a news organization is making an implicit, but
                                                         3 unmistakable, representation of fact about who is speaking. It is well settled in the
                                                         4 Ninth Circuit that promoting products with a false impression of independence
                                                         5 qualifies as a false or misleading representation of fact within the Lanham Act.
                                                         6 TrafficSchool.com, Inc. v. Edriver, Inc., 653 F.3d 820, 827-28 (9th Cir. 2011); Instant
                                                         7 Checkmate, Inc. v. Background Alert, Inc., No. 14-cv-01182, 2014 WL 12526275 at
                                                         8 *4 (S.D. Cal., Dec. 5, 2014); Southland Sod Farms, 108 F.3d at 1140 (“Even if an
                                                         9 advertisement is not literally false, relief is available under Lanham Act § 43(a) if it
                                                        10 can be shown that the advertisement has misled, confused, or deceived the consuming
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                                                        11 public.”); see July 18, 2018 Order, ECF No. 51, at 8-9 (“websites violate the Lanham
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                                                        12 Act when they take advantage of their purported lack of bias to disseminate false or
                                                        13 misleading information.”).
                                                        14         Indeed, the Ninth Circuit has found actionable false advertising on facts almost
                                                        15 identical to Passages’ conduct. In TrafficSchool.com, the defendants owned
                                                        16 “DMV.org,” a private for-profit website that sold sponsored links to online traffic
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                                                        17 schools and other services related to driving. 653 F.3d at 824. The plaintiffs,
                                                        18 competitors for such referrals, prevailed in the district court on the theory that the
                                                        19 DMV.org website was likely to mislead consumers into believing it was a government
                                                        20 agency. Id. at 827. The Ninth Circuit agreed that the site was misleadingly “designed
                                                        21 to suggest an affiliation with the State of California” because it used the web addresses
                                                        22 “ca.dmv.org” and “california.dmv.org,” and “mimicked an actual DMV site by
                                                        23 copying slogans and state symbols.” Id. at 827-28. This holding is foursquare with
                                                        24 Passages’ use of “baltimorehealth.org” and the Baltimore city logo containing the
                                                        25 words “City of Baltimore.” Indeed, Passages’ conduct was worse, in that did not merely
                                                        26 simulate a government site, but retained the design used when the site was actually
                                                        27 owned by the City of Baltimore. Counterclaims at 18. DMV.org also fostered
                                                        28 confusion by linking to web pages that helped consumers complete DMV-related
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                                                                   COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                         1 transactions like applying for a license, TrafficSchool.com, 653 F.3d at 828, just as
                                                         2 Passages intersperses links promoting its rehab facilities with links to government
                                                         3 resources such as the Baltimore City Health Department and healthcare.gov.
                                                         4 Counterclaims at 18.
                                                         5         Passages’ other sites engage in the same kind of deception. The principle is not
                                                         6 limited to the misleading suggestion of a government tie—it applies to any false
                                                         7 appearance that promotional material is commentary from an independent source. In
                                                         8 Instant Checkmate, the Southern District found false advertising was adequately
                                                         9 pleaded against a commercial provider of background check services that ran an
                                                        10 “‘advertorial’ blog” called “Crime Wire” and “tout[ed] Instant Checkmate's product
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                                                        11 without providing sufficient notice that Crime Wire is a paid advertisement and not an
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                                                        12 independent news source.” 2014 WL 12526275 at *2, 5. For the very same reason,
                                                        13 Passages’ sites that present themselves as a healthcare college’s blog, a marijuana news
                                                        14 publication, and drug addiction treatment blogs while posting advertorials for Passages
                                                        15 are actionable false advertising. See iYogi Holding Pvt. Ltd. v. Secure Remote Support,
                                                        16 Inc., No. 11-cv-0592, 2011 WL 6291793, at *15 (N.D. Cal., Oct. 25, 2011) (posting of
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                                                        17 “shill reviews . . . on consumer websites” constituted false advertising), report and
                                                        18 recommendation adopted, 2011 WL 6260364 (N.D. Cal., Dec. 15, 2011).
                                                        19         Moreover, as this Court has held, “a plaintiff may and should rely on FTC
                                                        20 guidelines as a basis for asserting false advertising under the Lanham Act.” July 18,
                                                        21 2018 Order, ECF No. 51, at 9 (quoting Manning Int’l Inc. v. Home Shopping Network,
                                                        22 Inc., 152 F. Supp. 2d 432, 437 (S.D.N.Y. 2001)). Instant Checkmate relied in part on
                                                        23 the Federal Trade Commission’s standards requiring “clear and conspicuous
                                                        24 disclaimers” that “do not mislead consumers into believing” a publication “is an
                                                        25 independent news source.” 2014 WL 12526275 at *5. And Passages’ websites are not
                                                        26 independent news organizations that happen to be owned by someone in the industry;
                                                        27 they are shallow websites that exist only to co-opt the credibility of trusted sources
                                                        28 while serving up “news stories” that cannot be characterized as anything other than
                                                                                                   10
                                                                   COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                         1 advertorial. Id. at *5; cf. FTC Guidance, “Native Advertising: A Guide for Businesses,”
                                                         2 https://www.ftc.gov/tips-advice/business-center/guidance/native-advertising-guide-
                                                         3 businesses (“An advertisement or promotional message shouldn’t suggest or imply to
                                                         4 consumers that it’s anything other than an ad”).
                                                         5         Indeed, Passages conduct is worse than Instant Checkmate’s. The bogus
                                                         6 Baltimore and Western College websites display a prominent link to the Verge article,
                                                         7 “Review Sites Have Deep Ties to the Rehabs They Promote,” which cautions
                                                         8 customers to be wary of review sites owned by rehab providers pretending to be
                                                         9 impartial. ECF No. 53 at 19 ¶27, 22 ¶33. This warning to consumers bolsters the false
                                                        10 impression that Passages’ sites are neutral even as the sites fail to disclose that they
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                                                        11 themselves are operated by the Prentisses.
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                                                        12         B.     With Respect to Deceptiveness, Passages Raises Only Factual
                                                        13                Disputes, Not Grounds for Dismissal.
                                                        14         Passages argues that the Court should find on the pleadings that its promotional
                                                        15 sites masquerading as a municipal government, a college and independent media did
                                                        16 not actually deceive or tend to deceive consumers. 7 MTD, ECF No. 62, at 11-13. It is
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                                                        17 audacious to set up sites cleverly designed to fool the public and then turn around and
                                                        18 ask a court to find, as a matter of law, that those sites do not fool the public.
                                                        19         In any case, there is no basis for such a finding; a promotional statement’s effect
                                                        20 on the reader is inherently factual and “the Ninth Circuit has unequivocally held [that]
                                                        21 the question of whether a particular statement is false and misleading is a question of
                                                        22 fact that is inappropriate for adjudication on a motion to dismiss.” Instant Checkmate,
                                                        23 2014 WL 12526275 at *5 (citing Newcal Indus., Inc. v. Ikon Office Solution, 513 F.3d
                                                        24 1038, 1053 (9th Cir. 2008)); Epicor Software Corp. v. Alternative Technology
                                                        25 Solutions, Inc., No. 13-cv-00448, 2013 WL 2382262 at *4 (C.D. Cal., May 9, 2013)
                                                        26 (“determination of whether a business practice is deceptive is usually a question of fact
                                                        27   7
                                                             Passages does not contend that its claims to have a “cure” for addiction are not
                                                        28 deceptive or that they are not material to purchasing decisions.
                                                                                                       11
                                                                    COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                         1 not appropriate for decision at the pleadings stage”). The same principle governs the
                                                         2 California unfair competition and false advertising claims. Williams, 552 F.3d at 938-
                                                         3 39 ( “California courts . . . have recognized that whether a business practice is deceptive
                                                         4 will usually be a question of fact not appropriate for decision on demurrer” and
                                                         5 dismissal is appropriate in “rare situation[s]”; reversing dismissal based “solely on [the
                                                         6 district court’s] own review of an example of the packaging”).
                                                         7         Unsurprisingly, Passages provides no case authority for its view that the Court
                                                         8 may find the alleged features of its websites would not tend to deceive the public.
                                                         9 Instead, it offers factual theories, further underscoring the factual nature of the issue. 8
                                                        10         For example, Passages argues it is implausible that readers would believe the
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                                                        11 City of Baltimore, a college, a Denver news site, or two addiction treatment blogs had
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                                                        12 in fact endorsed Passages. MTD, ECF No. 62, at 12. But the courts have found a
                                                        13 tendency to deceive on exactly such facts, and in circumstances less egregious than
                                                        14 what Passages has done. The DMV.org website in TrafficSchool.com was found to
                                                        15 have a “tendency to deceive a substantial segment of its audience” based on similar
                                                        16 elements to Passages’ sites: the domain name and particular text, symbols and
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                                                        17 embedded hyperlinks that suggested affiliation with the State of California. 653 F.3d
                                                        18 at 827 (quoting Southland Sod Farms, 108 F.3d at 1139). And in that case, the
                                                        19 defendant’s website, DMV.org, even had an express disclaimer of connection with
                                                        20
                                                        21   8
                                                               Passages seeks to impose the heightened pleading standard of Rule 9(b) on Cliffside’s
                                                        22   allegations of tendency to deceive and materiality, but it does not apply to those
                                                             elements. In the false advertising context, Rule 9(b) “requires the plaintiff to plead the
                                                        23   ‘time, place, and specific content of the false representations,’ the identities of the
                                                             parties to the misrepresentation, and what about the statement is claimed to be
                                                        24   misleading.” Epicor, 2013 WL 2382262 at *4 (quoting EcoDisc Tech. AG v. DVD
                                                             Format/Logo Licensing Corp., 711 F.Supp.2d 1074, 1085 (C.D. Cal. 2010)). Passages
                                                        25   does not contend that Cliffside’s counterclaims fail to meet these requirements. Rule
                                                             9(b) “‘applies only to the specifics of the alleged misrepresentations; it does not, by
                                                        26   contrast, apply to other aspects of Plaintiff’s claims . . . .” Waste and Compliance
                                                             Mgmt, Inc. v. Stericycle, Inc., No. 17-cv-0967, 2017 WL 4358145 at *3 (S.D. Cal.,
                                                        27   Oct. 2, 2017) (quoting Tidenberg v. Bidz.com, Inc., No. 08-cv-5553, 2009 WL 605249,
                                                             at *7 (C.D. Cal. Mar. 4, 2009)).
                                                        28
                                                                                                         12
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                                                         1 state DMVs, something Passages’ sham websites lack. Id. 9 Similarly, in Instant
                                                         2 Checkmate, the Southern District refused to dismiss despite the defendant’s arguments
                                                         3 that the “Crime Wire” news blog contained sufficient disclaimers alerting customers
                                                         4 to the site’s true affiliation. Whether the site was misleading was a question of fact. Id.
                                                         5 at *5 (“[W]hile it may be true that Crime Wire contains various indicia of its
                                                         6 relationship to Instant Checkmate, the Court cannot say as a matter of law that these
                                                         7 indicia are sufficient under the FTC’s standards for clear and conspicuous disclaimers
                                                         8 and thus do not mislead consumers into believing Crime Wire is an independent news
                                                         9 source.”); Newcal, 513 F.3d at 1053-54 (whether literally true statement is misleading
                                                        10 is a question of fact). Plainly, websites posing as a trusted institutions without any
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                                                        11 disclaimers or disclosures of their true affiliation are even more likely to deceive the
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                                                        12 public.
                                                        13         Passages contends that its websites “do not claim to be unbiased and objective.”
                                                        14 MTD, ECF No. 62, at 12. But a site can falsely represent that it is unbiased and
                                                        15 objective without saying so in words. When advertising is disguised as news or
                                                        16 government content, that is enough to constitute an affirmative claim of being unbiased
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                                                        17 and objective. Nothing more is required than the appearance of an independent
                                                        18 affiliation and the absence of disclosure. TrafficSchool.com, 653 F.3d at 827-28;
                                                        19 Instant Checkmate, 2014 WL 12526275 at *5. Passages may, of course, try to show
                                                        20 that its sites do not in fact fool consumers, but that is a matter for proof at trial, not a
                                                        21 determination to which it is entitled at the pleading stage. See Southland Sod, 108 F.3d
                                                        22 at 1140 (whether consuming public was misled by an advertisement is typically proven
                                                        23 “through the use of consumer surveys”). Moreover, Passages’ decision to acquire sites
                                                        24 belonging to a municipality, a college and an independent news organization and use
                                                        25 them to promote its businesses while leaving their appearance unchanged suggests it
                                                        26
                                                           9
                                                             In TrafficSchool.com, there was also evidence introduced at trial of actual consumer
                                                        27 confusion.   Id. But that again points to the factual nature of the inquiry. Cliffside is
                                                           entitled to develop  that evidence through discovery. It is not required to present survey
                                                        28 evidence in its pleadings.
                                                                                                       13
                                                                     COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
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                                                         1 intended to deceive the public. Should the evidence show that Passages misled the
                                                         2 public on purpose, a presumption of deceptive effect will attach. William H. Morris
                                                         3 Co. v. Group W, Inc., 66 F.3d 255, 258 (9th Cir. 1995), opinion supplemented, 67 F.3d
                                                         4 310 (9th Cir. 1995) (“If [defendant] intentionally misled consumers, we would presume
                                                         5 consumers were in fact deceived and [defendant] would have the burden of
                                                         6 demonstrating otherwise.”) Passages is not entitled to foreclose discovery into the
                                                         7 intent and effect of its deceptive promotional websites, as it is attempting to do.
                                                         8         C.    Passages’ Broad Challenge to the Materiality of Native Advertising
                                                         9               Fails.
                                                        10         Passages asserts that materiality is inadequately pleaded, but once again,
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                                                        11 Passages argues the facts and not the pleadings. Passages contends that presenting
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                                                        12 glowing reviews and links to its rehab facilities as government, academic or news
                                                        13 content cannot plausibly drive purchasing decisions. MTD, ECF No. 62 at 12. That
                                                        14 assertion is tantamount to saying that deceptive affiliation is immaterial as a matter of
                                                        15 law, which of course is absurd. Passages asks the court to believe that it posed as a
                                                        16 municipality, a college and news sites recommending Passages rehab without the
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                                                        17 expectation that this would bring it more customers.
                                                        18         In any event, Passages cites no authority for its theory and the law is to the
                                                        19 contrary. This Court and its sister court in the Northern District have held that the
                                                        20 affiliation of a site that provides product reviews can be material to purchasing
                                                        21 decisions. July 18, 2018 Order, ECF No. 51, at 11 (there is “no authority or rationale
                                                        22 for concluding as a matter of law that consumers would not look for and rely upon a
                                                        23 rating website’s affiliations and methodologies”); iYogi Holding Pvt. Ltd. v. Secure
                                                        24 Remote Support, Inc., No. 11-cv-0592, 2011 WL 6291793 at *15 (N.D. Cal., Oct. 25,
                                                        25 2011) (finding allegations sufficient that shill reviews were likely to affect purchasing
                                                        26 decisions of website’s target audience and denying motion to dismiss). Even if
                                                        27 statements are “not literally false, their materiality [can] not be decided on a motion to
                                                        28 dismiss.” July 18, 2018 Order, ECF No. 51, at 11.
                                                                                                   14
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                                                         1          D.    Cliffside Pled Injury in More Than Sufficient Detail.
                                                         2          Finally, Passages argues that Cliffside did not plead damages in sufficient detail,
                                                         3 demanding evidence that the law simply does not require. The counterclaims allege
                                                         4 that the parties are competitors in the market for residential addiction treatment services
                                                         5 and that the Prentisses’ misleading websites and false claims to possess an addiction
                                                         6 “cure” diverted prospective patients from Cliffside to Passages, causing Cliffside to
                                                         7 lose sales and goodwill in excess of $50,000,000. Counterclaims ¶¶ 2(c), 20-21, 56,
                                                         8 60, 63, 68. This is fully sufficient to plead the injury element of a false advertising
                                                         9 claim. See, e.g., King Tuna, Inc. v. Anova Food, Inc., No. 07-cv-7451, 2008 WL
                                                        10 11338617 at *3-4 (C.D. Cal. 2008); Waste and Compliance Mgmt, 2017 WL 4358145,
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                                                        11 at *3.
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                                                        12          False advertising injury is pleaded adequately by allegations that the challenged
                                                        13 statements are false and deceptive, are likely to influence purchasing decisions of
                                                        14 customers in the market in which the parties compete, injured plaintiff by diverting
                                                        15 sales, and caused and will cause injury to plaintiff’s business, reputation, and good
                                                        16 will. Waste and Compliance Mgmt., 2017 WL 4358145 at *3. Cliffside has pled each
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                                                        17 of these elements. Counterclaims ¶¶ 1, 2(c), 3-11, 20-21, 56, 60, 63, 68. This Court
                                                        18 denied a motion to dismiss a false advertising claim averring simply that “advertising
                                                        19 and marketing materials deceived consumers, influenced consumers purchasing
                                                        20 decisions, diverted sales from Plaintiff to Defendant, and diminished Plaintiff's
                                                        21 goodwill.” King Tuna, 2008 WL 11338617 at *3-*4. Cliffside’s counterclaims easily
                                                        22 exceed this standard.
                                                        23          Even if the damages allegations were deficient—and they are not—Cliffside’s
                                                        24 request for injunctive relief alone suffices to plead harm. See Counterclaims at 33. The
                                                        25 injury element of a false advertising claim is that “the plaintiff has been or is likely to
                                                        26 be injured as a result of the false statement, either by direct diversion of sales from
                                                        27 itself to defendant or by a lessening of the goodwill associated with its products.”
                                                        28 Skydive Ariz., Inc. v. Quattrocchi, 673 F.3d 1105, 1110 (9th Cir. 2012) (emphasis
                                                                                                    15
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                                                         1 added); Lexmark Int’l, Inc. v. Static Control Components, Inc., 134 S. Ct. 1377, 1388
                                                         2 (2014) (The Lanham Act “authorizes suit by ‘any person who believes that he or she
                                                         3 is likely to be damaged’ by a defendant’s false advertising.”) (quoting 15 U.S.C.
                                                         4 § 1125(a)(1), Lanham Act § 43(a)). Consequently, “a competitor need not prove injury
                                                         5 when suing to enjoin conduct that violates section 43(a).” Southland Sod, 108 F.3d at
                                                         6 1146; see TrafficSchool.com, 653 F.3d at 826-27 (“We have generally presumed
                                                         7 commercial injury when defendant and plaintiff are direct competitors and defendant's
                                                         8 misrepresentation has a tendency to mislead consumers”). Because Cliffside competes
                                                         9 with Passages and seeks an injunction against the continuation of its misleading
                                                        10 conduct, the claim stands independent of the damages allegations. Epicor, 2013 WL
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                                                        11 2382262 at *5 (“declin[ing] to dismiss claim solely because it seeks one improper
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                                                        12 category of relief) (citing Massey v. Banning Unified Sch. Dist., 256 F.Supp.2d 1090,
                                                        13 1092 (C.D. Cal. 2003) (for the purposes of ruling on a Rule 12(b)(6) motion, “[i]t need
                                                        14 not appear that plaintiff can obtain the specific relief demanded as long as the court can
                                                        15 ascertain from the face of the complaint that some relief can be granted.”)).
                                                        16         Unsupported by authority, Passages contends the law requires Cliffside to
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                                                        17 identify “surveys, complaints or . . . anecdotal evidence” of diverted customers. MTD,
                                                        18 ECF No. 62, at 13. The cases it cites state no such requirement, and are readily
                                                        19 distinguishable.
                                                        20         Passages cites Stahl Law Firm v. Judicate West, No. 13-cv-1668, 2013 WL
                                                        21 6200245, at *5 (N.D. Cal. Nov. 27, 2013), for the proposition that plaintiffs must allege
                                                        22 facts describing how false advertising might harm them, and showing that the alleged
                                                        23 injury is not merely hypothetical. But in that case, the plaintiff alleged that the parties
                                                        24 competed “for mediation services” without explaining the services the plaintiff
                                                        25 provided to show that they were competitive with the defendant’s. Regarding damages,
                                                        26 the complaint offered only the vague allegation that the allegedly false advertising
                                                        27 “harmed Plaintiff’s ability to compete.” Id.
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                                                                    COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
                                                                                        CASE NO. 2:18-CV-00923-SVW-RAO
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                                                         1         Similarly inapposite is Plan P2 Promotions, LLC v. Wright Brothers, Inc., No.
                                                         2 16-cv-2795, 2017 WL 1838943, at *5 (S.D. Cal. May 8, 2017), which found a
                                                         3 complaint needed “more specific allegations of, at the very least, lost sales or damage
                                                         4 to its reputation.” But that case involved a bare allegation that the defendants had
                                                         5 engaged in false advertising that had “somehow caused plaintiff to suffer damages.”
                                                         6 Id. at *5. Cliffside’s allegations are far more detailed than those in Stahl or Plan P2.10
                                                         7         Lastly, in Cannarella v. Volvo Car USA LLC, No. 16-cv-6195, 2016 WL
                                                         8 9450451 (C.D. Cal. Dec. 12, 2016), the complaint failed because it did not allege direct
                                                         9 diversion of sales or facts showing the parties competed, and the product allegedly
                                                        10 falsely advertised was not offered for sale. Id. at *11. By contrast with Cannarella and
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                                                        11 the other cases Passages cites, Cliffside has alleged (i) facts showing it directly
                                LOS ANGELES, CA 90017




                                                        12 competes with Passages in the market for alcohol and drug addiction treatment
                                                        13 services, and (ii) direct diversion of sales. Counterclaims ¶¶1, 2(c), 3-11, 56, 60, 63,
                                                        14 68.
                                                        15         E.    The Motion to Dismiss Does Not Separately Address the California
                                                        16               Claims.
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                                                        17         Passages does not independently challenge the claims for violations of
                                                        18 California false advertising and unfair competition law, except insofar as they are
                                                        19 congruent with the Lanham Act claims. Accordingly, its challenge to the state law
                                                        20 claims falls with its Lanham Act arguments.
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                                                        27   In Plan P2, the Court suggested the complaint would have sufficed if it had alleged
                                                           that customers were “likely to choose the official product over the unofficial one” and
                                                        28 sales were thereby diverted from the plaintiff. Id. at *6.
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                                                                   COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
                                                                                       CASE NO. 2:18-CV-00923-SVW-RAO
                                          Case 2:18-cv-00923-SVW-RAO Document 70 Filed 09/10/18 Page 23 of 23 Page ID #:1327



                                                         1                                   CONCLUSION
                                                         2       For the foregoing reasons, Passages’ motion to dismiss Cliffside’s counterclaims
                                                         3 should be denied.
                                                         4                                          Respectfully submitted,
                                                         5 Dated: September 10, 2018
                                                         6                                          /s/ Peter K. Stris
                                                                                                    Peter K. Stris
                                                         7                                          Brendan S. Maher
                                                                                                    Elizabeth Rogers Brannen
                                                         8                                          Dana Berkowitz
                                                                                                    Kenneth J. Halpern
                                                         9                                          Victor O’Connell
                                                        10                                          STRIS & MAHER LLP
                                                                                                    725 S. Figueroa Street, Suite 1830
 725 S. FIGUEROA ST, STE 1830




                                                        11                                          Los Angeles, CA 90017
                                                                                                    T: (213) 995-6800 | F: (213) 261-0299
                                LOS ANGELES, CA 90017




                                                        12
                                                                                                    Shaun P. Martin
                                                        13                                          5998 Alcala Park, Warren Hall
                                                                                                    San Diego, CA 92110
                                                        14                                          T: (619) 260-2347 | F: (619) 260-7933
                                                        15                                          Attorneys for Defendants and Counterclaim
                                                                                                    Plaintiffs
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                                                                  COUNTERCLAIM PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
                                                                                      CASE NO. 2:18-CV-00923-SVW-RAO
